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10
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11
12                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
13
14                                EASTERN DIVISION
15
16                                            Case No. 5:21-cv-00871

17   ARK DIAGNOSTICS, INC., a                 COMPLAINT FOR INFRINGEMENT
     California Corporation                   OF U.S. PATENT NO. 10,203,345
18
19                                            JURY TRIAL DEMANDED
                Plaintiff,
20        v.
21
     ACRO BIOTECH, INC., a California
22   Corporation, HANGZHOU ALLTEST
23   BIOTECH CO., LTD., and DOES 1-
     10, inclusive
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                 Defendants.
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 1         Plaintiff ARK Diagnostics, Inc. (“ARK” or “Plaintiff”) states and alleges as
 2 follows:
 3                            SUMMARY OF THE DISPUTE
 4         1.    This is an action for patent infringement arising under the patent laws of
 5 the United States of America, including specifically 35 U.S.C. § 271(a)-(c), based on
 6 Defendants Hangzhou AllTest Biotech Co., Lt. (“AllTest”) and Acro Biotech, Inc.’s
 7 (“Acro”) (collectively, “Defendants”) willful infringement of United States Patent
 8 No. 10,203,345 (the “’345 Patent) by the unauthorized use, offer for sale, sale, and/or
 9 importation of Defendants’ infringing gabapentin immunoassay rapid drug tests
10 accused below (“the Accused Product”), and by their inducement of and contribution
11 to infringement of the ’345 Patent.
12         2.    ARK is a pioneer in the therapeutic drug monitoring (“TDM”) and urine
13 drug testing (“UDT”) markets, which include assays and tests to detect and monitor
14 the presence of therapeutic and illicit drugs and other small molecules. Since its
15 incorporation in 2003, ARK’s mission has been to improve healthcare through the
16 design, research and development, manufacture, and distribution of in vitro diagnostic
17 (“IVD”) immunoassays for TDM and UDT. ARK’s innovations include its
18 homogeneous enzyme immunoassay technology, which it introduced for the next
19 generation of clinical laboratory testing. This technology includes the ARK
20 Gabapentin Assay, an immunoassay capable of rapidly detecting the presence of
21 gabapentin, an entirely new field in the TDM and UDT markets. The ’345 Patent
22 protects the ARK Gabapentin Assay.
23         3.    The products and processes covered by the ’345 Patent relate to
24 immunoassays for detecting the presence of gabapentin in a biological sample.
25 Gabapentin (trade name Neurontin) is a chemical compound used as an anti-seizure
26 and anti-convulsant medication that has the following chemical structure:
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 6                      Figure 1 – Chemical Structure of Gabapentin
 7         4.    Patients can metabolize gabapentin at different rates. As a result, two
 8 patients who receive the same dose of gabapentin may experience different levels of
 9 serum drug concentration, which will result in inconsistent therapeutic effects. Thus,
10 monitoring a patient’s concentration level of gabapentin is essential to determining the
11 correct dosage to prescribe.
12         5.    Apart from its therapeutic uses, gabapentin has become popular as a drug
13 of abuse, which users take in tandem with opioids to increase their potency.1 When
14 abused with opioids, gabapentin increases the risk of respiratory problems and fatal
15 overdose.2 The growing abuse of gabapentin has led to demand for quick, accurate,
16 and inexpensive methods for testing the presence of gabapentin in a test subject’s
17 biological sample.
18         6.    ARK researched, developed, and invented novel methods and compounds
19 for assaying gabapentin that can be used to test for the presence of gabapentin quickly,
20 accurately, and inexpensively. ARK’s gabapentin immunoassay products use
21 antibodies, enzymes, and a substrate to test for the presence of gabapentin and
22 gabapentin conjugates in a biological sample. When gabapentin is absent from a
23
     1
24     See Alyssa M. Peckham et. al., Gabapentin use, abuse, and the US opioid
     epidemic: the case for reclassification as a controlled substance and the need for
25   pharmacovigilance, 11 RISK MANAG. HEALTHCARE 11, 109, 110 (2018),
     www.ncbi.nlm.nih.gov/pmc/articles/PMC6103607/pdf/rmhp-11-109.pdf.
26   2
       Id. at 109; FDA warns about serious breathing problems with seizure and nerve
27   pain medicines gabapentin (Neurontin, Gralise, Horizant) and pregabalin (Lyrica,
     Lyrica CR), FDA (last updated Jan. 30, 2020), www.fda.gov/drugs/drug-safety-and-
28   availability/fda-warns-about-serious-breathing-problems-seizure-and-nerve-pain-
     medicines-gabapentin-neurontin.
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 1 sample, the gabapentin-specific antibody binds to the enzyme, preventing the enzyme
 2 from producing NADH. Conversely, when gabapentin is present, the antibody binds
 3 to the gabapentin, allowing the enzyme to bind to the substrate and produce NADH.
 4 NADH levels can then be measured and used to determine the presence and
 5 concentration of gabapentin.
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13                    Figure 2 - ARK Gabapentin Assay, which includes
14              Reagent R1 – Antibody/Substrate; and Reagent R2 – Enzyme.
15         7.    ARK’s Gabapentin Assay can be used with clinical analyzers to test for
16 the presence and concentration levels of gabapentin and gabapentin conjugates in a
17 patient’s biological sample. To do so, a known quantity of Reagent R1 is mixed with
18 the biological sample. Reagent R1 contains rabbit polyclonal antibodies that
19 specifically bind to gabapentin as well as nicotinamide adenine dinucleotide (“NAD”).
20 If the sample contains gabapentin, Reagent R1’s antibodies will bind to the free
21 gabapentin. When Reagent R2 is introduced, these bound antibodies will not be free to
22 bind to the enzyme-tagged gabapentin. Reagent R2 contains gabapentin conjugated at
23 the carboxyl group to bacterial glucose-6-phosphate dehydrogenase (“G6PDH”).
24 When G6PDH is active, it converts NAD to NADH, which changes the way the
25 solution absorbs light. Conversely, if the sample does not contain gabapentin, Reagent
26 R1’s antibodies will bind to Reagent R2’s enzyme-tagged gabapentin, in turn
27 inhibiting production of NADH. A spectrometer can measure this change in
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 1 absorbance with enough specificity to allow users to determine appropriate dosage
 2 rates.
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      Figure 3 - Diagram of ARK Gabapentin Assay’s Response to Different Samples
11
12          8.   In addition to use with a clinical chemistry analyzer, ARK’s gabapentin-
13 specific antibodies can be and are used in competitive lateral flow test strips in cups,
14 dip-cards, and other test formats for performing rapid drug tests without using
15 specialized equipment. Lateral flow tests include gabapentin antibodies deposited on
16 the test’s “dip zone” that are designed to bind with gabapentin and specific gabapentin
17 conjugates. In these lateral flow tests, the gabapentin antibodies are labeled with a
18 marker, such as a gold microparticle, that becomes visible to the naked eye when
19 antibodies concentrate in a small enough area. Gabapentin lateral flow tests also
20 include a “test line” that includes unbound gabapentin molecules and a “control line”
21 that includes gabapentin antibodies that bind with excess labeled antibody.
22
23
24
                   Figure 4 - Diagram of Gabapentin Lateral Flow Test
25
26          9.   When a biological sample, such as a blood or urine sample, is added to
27 the dip zone, the sample diffuses along the strip, carrying the gabapentin antibodies. A
28 properly functioning strip will carry the sample, including the gabapentin antibodies

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 1 dispersed within it, all the way to the control line. The antibodies bind to free
 2 gabapentin and specific gabapentin conjugates on a first-come, first-serve basis.
 3 Because the tagged antibodies are located at the test strip’s dip zone, they interact with
 4 the biological sample before reaching the gabapentin on the test line. If the biological
 5 sample contains gabapentin, the tagged antibodies will bind to the sample’s gabapentin
 6 and not to the gabapentin on the test line. All the tagged antibodies then flow to the
 7 control line, resulting in a single-line, positive test. If the sample contains little or no
 8 gabapentin, the tagged antibodies are free to bind to the gabapentin on the test line, at
 9 a concentration significant enough to make the test line visible. Excess tagged
10 antibodies will flow to the control line, resulting in a double-line, negative test.
11
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15
16       Figure 5 - Diagram of Positive and Negative Gabapentin Lateral Flow Tests
17         10.    ARK has entered into a Licensing and Supply Agreement with Advin
18 Biotech Inc (“Advin”). Advin uses components of ARK’s Gabapentin Immunoassay
19 to create rapid drug tests that practice the ’345 Patent.
20         11.    On December 1, 2020, Plaintiff filed a complaint at the International
21 Trade Commission, alleging that Defendants’ infringement of the ’345 Patent resulted
22 in a violation of 19 U.S.C. § 1337. Plaintiff amended its complaint on December 23,
23 2020, and the International Trade Commission instituted Certain Gabapentin
24 Immunoassay Kits and Test Strips, Components Thereof, and Methods Therefor, Inv.
25 No. 337-TA-1239, on January 19, 2021.
26                                       THE PARTIES
27         12.    Plaintiff ARK Diagnostics, Inc. is a California corporation founded in
28 2003. ARK’s principal place of business is located at 48089 Fremont Boulevard,

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 1 Fremont, California 94538.
 2         13.    Defendant Acro Biotech, Inc. is a California corporation. Acro maintains
 3 its principal place of business at 9500 7th Street, Unit M, Rancho Cucamonga, CA
 4 91730.
 5         14.    Defendant Hangzhou AllTest Biotech Co., Ltd. is a company organized
 6 under the laws of the Peoples Republic of China maintaining its principal place of
 7 business at No. 550, Yinhai Street, Hangzhou Economy and Technology Development
 8 Area, Hangzhou, China, 310018.
 9         15.    ARK does not know the true names and capacities of the Defendants sued
10 herein as Does 1 through 10, inclusive, and therefore sues these Defendants by their
11 fictitious names. Pursuant to Federal Rules of Civil Procedure 15(a)(2) and 21, ARK
12 will seek leave to amend this Complaint to allege the true names and capacities of Does
13 1 through 10, inclusive, when ascertained.
14                                      JURISDICTION
15         16.    This court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331
16 and 1338.
17         17.    Defendant Acro is subject to personal jurisdiction in the State of
18 California, including within this judicial district, because it is a California corporation
19 and because it has its principal place of business within this judicial district.
20         18.    On information and belief, Defendant AllTest is subject to personal
21 jurisdiction in the State of California, including within this judicial district, because
22 AllTest carries on continuous and systematic business in the State of California.
23 Among other things, AllTest’s U.S. agent registered with the U.S. Food and Drug
24 Administration resides in California within this district. Further, as noted above,
25 AllTest’s wholly owned subsidiary Acro is located in California within this district,
26 and on information and belief, AllTest regularly imports, sells, and distributes
27 products, including accused products, for marketing, distribution, and resale to
28 California and in particular to this district.

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 1         19.   In addition, AllTest has committed acts of infringement in California
 2 within this district that give rise to this action by purposefully and voluntarily placing
 3 the accused products into the stream of commerce with the intention and expectation
 4 that they will be resold and distributed within California. On information and belief,
 5 AllTest has sold and distributed accused products to its wholly owned subsidiary Acro,
 6 which resides within this district, with the understanding that Acro would resell and
 7 distribute those products within this district. Therefore, AllTest has sufficient
 8 minimum contacts with California, such that exercising jurisdiction over AllTest is
 9 appropriate under the applicable jurisdictional statutes and would not offend traditional
10 notions of fair play and substantial justice.
11                                             VENUE
12         20.   Venue is proper in this district under 28 U.S.C. §§ 1391(c)(3) and 1400(b)
13 because Defendant AllTest resides outside the United States in Hangzhou, China and
14 Defendant Acro resides within this judicial district, as alleged above.
15                                    THE PATENTS IN SUIT
16         21.   The ’345 Patent generally discloses and claims a method of detecting
17 gabapentin by combining a target sample, an anti-gabapentin antibody, and a
18 gabapentin conjugate in which a detectable label is bound to a gabapentin molecule
19 via one of three specific chemical structures—GAB-II, GAB-V, or GAB-VII. In
20 general, the target samples are biological samples (such as urine samples) suspected of
21 containing gabapentin. The anti-gabapentin antibody is capable of binding with
22 gabapentin or gabapentin conjugates. Any free gabapentin in the sample will form
23 complexes with the anti-gabapentin antibodies, making the antibodies unavailable to
24 bind with the gabapentin conjugate when it is introduced into the sample. The output
25 of the conjugated label is affected by the presence or absence of the antibody-
26 gabapentin conjugate complex. This method detects the presence and concentration of
27 gabapentin in the sample based on the label’s output.
28         22.   The ’345 Patent also generally discloses and claims a gabapentin

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 1 immunoassay kit including an anti-gabapentin antibody and a gabapentin conjugate
 2 comprising a detectable label bound to a gabapentin molecule via one of the GAB-II,
 3 GAB-V, and GAB-VII structures. The claimed kit can be used for performing
 4 identifying the presence or absence of gabapentin in a sample.
 5                           Defendants’ Infringing Activities
 6         23.     On information and belief, Defendants make, use, sell, offer for sale,
 7 and/or import gabapentin immunoassay products that infringe the ’345 Patent.
 8         24.     Defendants infringe the ’345 Patent at least by importing, selling, and
 9 offering for sale gabapentin immunoassay kits, gabapentin-specific test strips, and
10 multi-drug test kits and strips that test for gabapentin among other drugs that practice
11 one or more claims of the ’345 Patent. On information and belief, Defendant AllTest
12 manufactures accused products in China. AllTest imports these accused products into
13 the U.S. by shipping them to its wholly owned subsidiary, Defendant Acro, which
14 markets, sells, and offers for sale accused products on its own and through independent
15 distributors. These accused products include a “GAB Rapid Test Panel,” which
16 Defendant AllTest and Acro advertise on their websites (see, e.g., Exs. 2, 3) and their
17 distributors advertise as an “AllTest/Acro Biotech” product. (See Ex. 4.)
18         25.     Defendants’ actions have irreparably harmed ARK and will continue to
19 do so unless they permanently cease. Continued sales of Defendants’ accused products
20 will further damage ARK’s market position and good reputation in the marketplace. In
21 addition, Defendants’ continued knowing acts of infringement will frustrate ARK’s
22 ongoing and potential business relationships and contracts, with resulting lost sales and
23 profits, and are otherwise causing or will cause substantial irreparable harm to ARK’s
24 business.
25         26.     As a result of Defendants’ actions, ARK was forced to file this lawsuit
26 to protect its patented invention and its reputation as a leader in the IVD industry.
27         27.     Defendants’ accused products, including their Gabapentin Rapid Test
28 Panel, practice one or more claims of the ’345 Patent. Defendants’ Gabapentin Rapid

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 1 Test Panel meets each and every limitation of independent claims 1 and 28. To the
 2 extent that the accused products do not literally meet a claim limitation, they meet them
 3 under the doctrine of equivalents.
 4         28.     As shown below, during ordinary use, the accused products practice
 5 every step of the method of independent claim 1:
 6
 7               Claim 1                 Defendants’ Gabapentin Rapid Test Panel
 8   A method for detecting the         Defendants’ accused products, including its
 9   presence or absence of         Gabapentin (GAB) Rapid Test Panel are one-step,
10   gabapentin in a sample, the    competitive lateral flow immunoassay tests for
11   method comprising:             detecting the presence or absence of gabapentin in a
12                                  biological sample.
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18                                         (Excerpt of Defendants’ Product Insert)
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 1              Claim 1                 Defendants’ Gabapentin Rapid Test Panel
 2   (a) combining in a reaction       Defendants’ accused products combine certain
 3      mixture:                    recited substances in a reaction mixture. When used
 4                                  as intended, a biological sample is introduced to the
 5                                  dip card’s test strip. The sample and anti-gabapentin
 6                                  antibodies placed on the test strip diffuse to the
 7                                  strip’s test zone, where they react with the gabapentin
 8                                  conjugate deposited on the strip.
 9
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12
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14                                         (Excerpt of Defendants’ Product Insert)
15
        (i)    a sample suspected      During ordinary use, samples suspected of
16
               of containing        containing gabapentin are introduced into a reaction
17
               gabapentin;          mixture on the test strip of the accused products.
18
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20
21
22                                                            ...
23
24
                                          (Excerpts of Defendants’ Product Insert)
25
        (ii)   an anti-gabapentin      The accused products contain anti-gabapentin
26
               antibody capable of antibodies that are capable of forming a complex
27
               forming of a         with gabapentin present in the sample. The
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 1           Claim 1                Defendants’ Gabapentin Rapid Test Panel
 2          complex with        antibodies specifically bind gabapentin epitopes
 3          gabapentin that     present in free gabapentin, whether contained in a
 4          may be present in   test subject’s urine sample or pre-placed at the
 5          the sample; and     accused products’ test line (denoted “T”).
 6
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12                                     (Excerpt of Defendants’ Product Insert)
13                                 When the accused products are used on a urine
14                              sample containing gabapentin molecules, the
15                              molecules bind to antibodies contained on the dip
16                              zone, preventing them from binding to fixed
17                              gabapentin-conjugates preplaced at the test line, such
18                              that the test line will not display a visual marker.
19                              Alternatively, when the accused products are used for
20                              a urine sample that does not contain gabapentin
21                              molecules, unbound antibodies bind to the preplaced
22                              gabapentin conjugates at the test line, such that the
23                              test line will display a visual marker.
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 1           Claim 1               Defendants’ Gabapentin Rapid Test Panel
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                                   (Diagram of Competitive Lateral Flow Assay)
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15                                                      ...
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24
25                                    (Excerpt of Defendants’ Product Insert)
26
27                               (Excerpt of Defendants’ Product Insert, describing
28                                              product limitations)
                                          13
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 1              Claim 1               Defendants’ Gabapentin Rapid Test Panel
 2     (iii) a gabapentin            The accused products include a gabapentin
 3            conjugate capable   conjugate capable of binding to the afore-mentioned
 4            of binding to the   anti-gabapentin antibodies. On information and
 5            anti-gabapentin     belief, this gabapentin conjugate has the recited R1
 6            antibody, wherein   structure of ⸺X⸺W-L-Z, in which X is NH, W is a
 7            the gabapentin      lower alkyl group or carbonyl group, L is a linker or
 8            conjugate has the   at least one bond between W and Z, and Z is a
 9            structure:          “detectable label.”
10                                   Per the product’s package insert, the accused dip
11                                card includes a “Gabapentin-protein conjugate”—i.e.,
12                                a gabapentin-protein conjugate—deposited in the test
13                                region. During use of the dip card as intended with a
14                                sample containing gabapentin levels below the cut-
15                                off concentration for a positive result, the dip card’s
16                                anti-gabapentin will “[t]he antibody coated particles
        Wherein:
17                                will then be captured by immobilized Gabapentin-
        R1, R2, or R3 is
18                                protein conjugate and a visible colored line will show
         ⸺X⸺W-L-Z;
19                                up in the test line region” indicating a negative result.
        when R1 is ⸺X⸺W-L-
20
        Z, X is NH, R2 is ⸺OH,
21
        and R3 is ⸺H;
22
        when R2 is ⸺X⸺W-L-
23
        Z, X is NH, R1 is
24
        ⸺NH2, and R3 is ⸺H;
25
        and
26
        when R3 is ⸺X⸺W-L-                 (Excerpt of Defendants’ Product Insert)
27
        Z, X is a heteroatom or
28                                   The appearance of a colored line in the accused

                                             14
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 1             Claim 1                  Defendants’ Gabapentin Rapid Test Panel
 2      lower alkyl group, R1 is    products’ test zone when the card’s anti-gabapentin
 3      ⸺NH2, and R2 is             antibodies bind with its Gabapentin-protein conjugate
 4      ⸺OH;                        is a detectable signal, such that the protein is a
 5      W is a lower alkyl group detectable label as recited in claim 1.
 6      or carbonyl group;             Further, testing of the accused products shows that
 7      L is a linker or at least   the anti-gabapentin antibodies included with the dip
 8      one bond between W          card specifically bind to gabapentin conjugates
 9      and Z; and Z is a           having a GAB-II structure, which in turn indicates
10      detectable label;           that the gabapentin conjugates included with the
11                                  accused dip card also have a GAB-II structure—just
12                                  like the R1 structure recited in claim 1. Specifically,
13                                  when testing the accused dip card with samples
14                                  containing gabapentin conjugates having GAB-II,
15                                  GAB-V, and GAB-VII structures respectively, the
16                                  accused product indicated a positive result only with
17                                  the GAB-II sample and not with the GAB-V or
18                                  GAB-VII samples. As shown below, the accused dip
19                                  card’s test line indicated a positive result for the
20                                  GAB-II sample (no visual marker at the “T” line) and
21                                  negative results with the GAB-V and GAB-VII
22                                  conjugates and for a control sample that did not
23                                  include gabapentin.
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12                                  (Photograph of gabapentin conjugate test results
13                                         chart with the accused dip card)
14
                                   Based on this testing, the accused products’ anti-
15
                                gabapentin antibodies form complexes with GAB-II
16
                                conjugates and not with other gabapentin conjugates.
17
                                Consequently, the gabapentin conjugates included on
18
                                the accused dip card during manufacture must also
19
                                have a GAB-II structure, as recited in claim 1, or else
20
                                these conjugates would not form complexes with the
21
                                dip card’s anti-gabapentin antibodies.
22
                                   In addition, by its nature, the dip card’s
23
                                Gabapentin-protein conjugate must include “at least
24
                                one bond” between the conjugate’s protein and its
25
                                gabapentin molecule, as required by claim 1.
26
                                   Finally, on information and belief, the remaining
27
                                portions of claim 1’s R1 structure—NH and either a
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 1            Claim 1                 Defendants’ Gabapentin Rapid Test Panel
 2                                “lower alkyl group or a carbonyl group”—are present
 3                                based on the GAB-II structure of the conjugate and
 4                                the methods and chemicals typically used for
 5                                conjugation.
 6
      (b) detecting the              The accused products perform the step of
 7
         presence or absence of   detecting the presence or absence of the antibody-
 8
         the complex, wherein     gabapentin complex, which is indicative of the
 9
         the presence or          presence or absence of gabapentin in the sample.
10
         absence of the           When the dip card is used as directed, its test strip is
11
         complex is indicative    inserted into a biological sample, causing diffusion to
12
         of the presence or       occur along the test strip, creating the recited reaction
13
         absence of gabapentin    mixture. If gabapentin is present in the sample, the
14
         in said sample.          anti-gabapentin antibodies deposited on the test strip
15
                                  form complexes with the free gabapentin present in
16
                                  the sample. Because the anti-gabapentin antibodies
17
                                  have formed complexes with the free gabapentin,
18
                                  they are not available to bind with the gabapentin
19
                                  conjugates deposited on the test strip’s test line. As
20
                                  such, the test line does not display a marker, which
21
                                  indicates that gabapentin is present in the sample.
22
                                     If gabapentin is absent from the sample, the anti-
23
                                  gabapentin antibodies deposited on the test strip do
24
                                  not form complexes with anything in the sample and
25
                                  thus are free to bind with the deposited gabapentin
26
                                  conjugates as the mixture diffuses along the test strip.
27
                                  The binding of the antibodies with the gabapentin
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 1              Claim 1               Defendants’ Gabapentin Rapid Test Panel
 2                                conjugates causes a visual marker to display at the
 3                                strip’s test line, indicating that gabapentin is absent
 4                                from the sample.
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21                                       (Excerpt of Defendants’ Product Insert)
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23        29.    In addition, the accused products meet each and every limitation of
24 independent claim 28, which is directed to “[a] kit” comprising “an anti-gabapentin
25 antibody, capable of specifically binding to gabapentin” and “a gabapentin conjugate
26 capable of binding to the anti-gabapentin antibody” and having one of the same three
27 structures required by claim 1. For the same reasons provided regarding the “anti-
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 1 gabapentin antibody” and “gabapentin conjugate” limitations of claim 1, the accused
 2 products meet these limitations of claim 28.
 3                              FIRST CAUSE OF ACTION
 4                       Infringement of U.S. Patent No. 10,203,345
 5         30.   Plaintiff incorporates and realleges the allegations in the preceding
 6 paragraphs as if fully set forth here.
 7         31.   On February 2, 2019, the United States Patent and Trademark Office duly
 8 and legally issued the ’345 Patent, titled “Compounds and Methods for Use in
 9 Detecting Gabapentin.” A true and correct copy of the ’345 patent is attached as
10 Exhibit 1.
11         32.   ARK is the owner, by assignment, of all rights, title, and interest in the
12 ’345 Patent, including the right to recover damages for past infringement.
13         33.   Defendants have infringed and continue to infringe the ’345 Patent, both
14 literally and by equivalents, under 35 U.S.C. § 271(a) in this district and elsewhere in
15 the United States by using, importing, offering for sale, and/or selling the accused
16 products, which practice one or more of the claims of the ’345 Patent. The accused
17 products satisfy each limitation of at least independent claims 1 and 28. (See supra ¶¶
18 28–29.)
19         34.   On information and belief, Defendants have actively induced and
20 contributed to infringement of one or more claims of the ’345 Patent under 35 U.S.C.
21 § 271(b) and (c). Defendants have had knowledge of the ’345 Patent at least since
22 December 1, 2020, when ARK filed a complaint with the U.S. International Trade
23 Commission under Section 337 of the Tariff Act of 1930 asserting the ’345 Patent
24 against Defendants.
25         35.   Defendants have induced infringement of one or more claims of the ’345
26 Patent, both literally and by equivalents, under 35 U.S.C. § 271(b). On information and
27 belief, Defendants have actively, knowingly, and intentionally induced infringement
28 of the ’345 Patent by selling, offering to sell, advertising, marketing, and distributing

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 1 accused products with the knowledge and specific intent that third parties will use them
 2 to infringe the ’345 Patent during ordinary and customary use of those products.
 3 Defendants have actively encouraged third parties, including customers and end users,
 4 to use the accused products in an infringing manner, including: (1) by marketing those
 5 products for use in gabapentin UDT, including through websites (see, e.g., 2-4); (2) by
 6 selling, offering for sale, and distributing the accused products to third parties and end
 7 users; and (3) by providing instructions, including package inserts supplied with the
 8 accused products, that direct third parties to use those products in an infringing manner
 9 (see, e.g., Ex. 5).
10         36.   On information and belief, Defendants have contributorily infringed one
11 or more claims of the ’345 Patent, both literally and by equivalents, under 35 U.S.C. §
12 271(c). Within the United States, Defendants have sold, offered to sell, and/or imported
13 the accused products with the knowledge that they are especially made or adapted for
14 use in infringing the ’345 Patent. (See supra ¶¶ 28-29.) Further, the accused products
15 are not staple articles or commodities of commerce suitable for substantial
16 noninfringing use. For example, they are not intended and cannot be used substantially
17 for testing for drugs of abuse other than gabapentin.
18         37.   As a result of Defendants’ infringement of the ’345 Patent, ARK has
19 suffered and will continue to suffer damages. ARK is entitled to recover from
20 Defendants damages adequate to compensate for such infringement, in an amount to
21 be determined at trial.
22         38.   Defendants have committed acts of infringement of the ’345 Patent
23 discussed above with full knowledge of ARK’s rights in the patent. On information
24 and belief, and as discussed above, Defendants received notice of their infringing
25 activities at least by ARK’s December 1, 2021 complaint filed with the U.S.
26 International Trade Commission. On information and belief, Defendants continued
27 infringing acts after that date, including by continuing to market the accused products
28 and to offer them for sale, such as through their websites, despite an objectively high

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 1 likelihood that their actions constitute direct and/or indirect infringement of valid
 2 patents. Defendants knew or should have known of that objectively high risk since
 3 before the filing of this Complaint. Defendants’ acts constitute willful and deliberate
 4 infringement, entitling ARK to enhanced damages under 35 U.S.C. § 284 and
 5 reasonable attorneys’ fees and costs.
 6                                PRAYER FOR RELIEF
 7        WHEREFORE, Plaintiff prays that:
 8        A. A judgment is entered against Defendants on all claims;
 9        B. That Defendants have infringed the ’345 Patent, both literally and by
10            equivalents;
11        C. That Defendants have induced infringement of the ’345 Patent, both
12            literally and by equivalents;
13        D. That Defendants have contributed to infringement of the ’345 Patent, both
14            literally and by equivalents;
15        E. That Defendants have willfully infringed the ’345 Patent;
16        F. That the ’345 Patent is valid and enforceable;
17        G. That Defendants, their officers, agents, and employees, those persons in
18            active concert of participation with any of them, and their successors and
19            assigns be permanently enjoined from infringing the ’345 Patent, including
20            but not limited to an injunction against making, using, offering to sell, and
21            selling within the United States, and importing into the United States,
22            products covered by the ’345 Patent;
23        H. For an accounting for any infringing sales not presented at trial and an
24            award by the Court of additional damages for any such infringing sales;
25        I. That Defendants be ordered to account for and pay to ARK the damages
26            resulting from Defendants’ infringement of the ’345 Patent, including lost
27            profits, together with interest and costs, and all other damages permitted by
28            35 U.S.C. § 284, including enhanced damages up to three times the amount
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 1           of damages found or measured, but in any event no less than a reasonable
 2           royalty;
 3        J. That ARK be awarded such other equitable or legal relief as this Court
 4           deems just and proper under the circumstances.
 5         DATED: Los Angeles, California, May 19, 2021.
 6
 7                                                /s/ Ashe Puri
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 1                                    JURY DEMAND
 2        Plaintiff hereby requests a trial by jury in this matter.
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 4         DATED: Los Angeles, California, May 19, 2021.

 5
                                                    /s/ Ashe Puri
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